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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MARYLAND
                                      Greenbelt Division



In re: MAHMOUD MUSA ABULHAWA,                                          Case No.: 21-14649-TJC
                                                                       Chapter 13
                          Debtor.

Mahmoud Musa Abulhawa,

                          Movant,

v.                                                                     CONTESTED MATTER

Kapitus Servicing, Inc. f/k/a
Colonial Funding Network, Inc.
as servicing agent for
Strategic Funding Source, Inc.
d/b/a Kapitus

                          Respondent.


     RESPONSE AND RESERVATION OF RIGHTS TO DEBTOR’S APPLICATION TO
               APPROVE EMPLOYMENT OF REAL ESTATE AGENT

        Kapitus Servicing, Inc. f/k/a Colonial Funding Network, Inc. as servicing agent for

Strategic Funding Source, Inc. d/b/a Kapitus ("Kapitus"), by counsel, hereby files this response

and reservation of rights with respect to the Application to Approve Employment of Real Estate

Agent (Doc. 56) (the "Application") filed by Mahmoud Musa Abulhawa (the "Debtor") on

October 20, 2021.

                                                   Summary

        1.       Kapitus does not, per se, object to the employment of a real estate agent. However,

on information and believe, based on the Debtor’s Schedules and Statements, there will be net
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 Counsel for Kapitus Servicing, Inc., f/k/a Colonial Funding Network, Inc.,
as servicing agent for Strategic Funding Source, Inc., d/b/a Kapitus
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equity resulting from the sale of real estate. The Debtor should be required to pledge any such net

equity to his chapter 13 plan payments, which the Debtor’s current proposed plan does not so

require. In addition, the property to be sold is, on information and belief, the Rental Property

(defined below), which currently adds $1,700 monthly income to the Debtor. The Debtor should

be required to show how a $1,700 reduction in income will impact his budget and thus Plan

payments.

                                           Discussion

       2.      On July 15, 2021, the Debtor filed his third voluntary petition under Chapter 13 of

Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (Doc 1) (the "Petition").

       3.      As of the Petition, the Debtor owns two real estate properties: 8724 Hawkins

Creamery Road, Gaithersburg MD (the "Home"); and 11433 Brundidge Terrace, Germantown

MD (the "Rental Property"). (Doc. 13).

       4.      In his third amended plan filed on October 12, 2021 (Doc. 53) (the "Amended

Plan"), the Debtor proposes to sell the Rental Property "as soon as possible and using the proceeds

to pay off his mortgages with US National Bank, Rushmore, and Mr. Cooper." Amended Plan, ¶9.

The Amended Plan proposes 100% distribution to unsecured creditors, as is necessary based on

the Chapter 7 liquidation analysis. See Amended Plan, ¶ 4.7.

       5.      The Debtor listed the value of the Rental Property as $358,100.00 based on Zillow.

(Doc. 13, pp. 4). The Rental Property is encumbered by two deeds of trust -- one to Mr. Cooper,

which filed a proof of claim in the amount of $295, 495.89 (Claim 10); the other with Rushmore

Mortgage, which filed a proof of claim in the amount of $9,363.51 (Claim 9).

       6.      Confirmation hearing on the Amended Plan is scheduled for November 16, 2021

and objection are to be filed by November 9, 2021. Kapitus intends to object to the Amended Plan
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as it fails to state how the net proceeds, which are approximately $53,241, will be used to pay

creditors.

        7.     The Debtor also states that he receives $1,700 in rental income per month. Before

a realtor is retained and/or the Rental Property sold, Debtor should be required to show how a

$1,700 reduction in monthly income will impact his monthly budget and thus disposable income

available to pay monthly Plan payments.

                                 RESERVATION OF RIGHTS

        8.     Kapitus' filing of this Response is without waiver, and express reservation, of any

and all of Kapitus' rights, defenses, and remedies available at law and in equity. Kapitus reserves

further its rights to argue or join, at hearing or in further allowed briefing, additional grounds for

objection to the Application.

        WHEREFORE, Kapitus respectfully requests that the Court enter an order denying the

Debtor's Application to Approve of Employment of Real Estate Agent, or such other relief as is just

and proper.


Date: November 3, 2021                         KAPITUS   SERVICING,     INC.  F/K/A
                                               COLONIAL FUNDING NETWORK, INC. AS
                                               SERVICING AGENT FOR STRATEGIC
                                               FUNDING SOURCE, INC. D/B/A KAPITUS,


  /s/ Paige Levy Smith                              /s/ Klementina V. Pavlova
  Paige Levy Smith, MD Fed. Bar No. 19912           W. Ashley Burgess (admitted pro hac vice)
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   Counsel for Kapitus Servicing, Inc. f/k/a Counsel for Kapitus Servicing, Inc. f/k/a
  Colonial Funding Network, Inc., as servicing Colonial Funding Network, Inc., as servicing
  agent for Strategic Funding Source, Inc., agent for Strategic Funding Source, Inc., d/b/a
  d/b/a Kapitus                                Kapitus
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of November, 2021, the Response to Debtor's
Application to Approve Employment of Real Estate Agent and Reservation Of Rights was filed via
the CM/ECF system which sent electronic notification of such filing to the following parties:

                                      Richard B. Rosenblatt
                                      Email: rrosenblatt@rosenblattlaw.com
                                      Counsel for the Debtor

                                      Timothy P. Branigan
                                      Email: cmecf@chapter13maryland.com
                                      Chapter 13 Trustee

                                      Wayne Anthony Holman
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                                      Daniel Alan Ross
                                      Email: Daniel.ross@mccalla.com
                                      Counsel for Fay Servicing, LLC


         I further certify that on this 3rd day of November, 2021, a copy of the foregoing was mailed
first class U.S. Mail, postage pre-paid to:

                                      Mahmoud Musa Abulhawa
                                      8724 Hawkins Creamery Road
                                      Gaithersburg, MD 20882
                                      Debtor

                                      Synchrony Bank
                                      c/o PRA Receivables Management, LLC
                                      P.O. Box 41021
                                      Norfolk, VA 23541



                                               /s/ Klementina V. Pavlova
